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                                                    7966

       Government Offices of Sweden
                                                              27 February 2024
                                                              JuBC2023/00459




Ministry of Justice Sweden                                    The Honorable Judge Edward S. Kiel
Division for Criminal Cases and                               United States District Court for the
Internationai Judicial Co-operation                           District of New Jersey
Central Authority                                             ILS Post Office & Courthouse Buiiding
Desk Officer Maria Walter                                     Two Federai Square
ju.birs@gov.se                                                Newark, NJ 07102
                                                              USA




                  Regarding your request for legal assistance in a civil matter



                 Your ref.no 2:1 '9-md-02921 /MDI.No.2921


                 Dear Honorable Judge Edward S. Kiel,


                 Please find attached a letter from Stockhoka Distdct Court -with information
                 regarding the upcommg hearing and an additional question.


                 Please contact the District Court directly by e-mail or phone m all further
                  commumcation:


                  Stockhokas District Court
                  Stockholms.tmgsratt.avdelamg4@dom.se
                  +46 8 561 65 410

                 Yours faithfully,



                            ^.
                  Maria Walter




                  Telephone: +46 8 405 10 00                  Postai address: SE 103 33 Stockholm
                  Fax: +46 8 20 27 34                         Visitors' address: Jakobsgatan 24
                  Web: www.regeringen.se                      Emaii: ju.birs@gov.se
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                                                         7967
         STOCKHOLMS TINGSRATT                               Date: 2024-02-22                                 Aktbihgal?
         STOCKHOLM DISTRICT COURT                                                                            (Fi^ Appendix)
                                                                                                             Mat nrT 11099-23
        Avdekiiag 4
                                                                                                             {Ca!€ no. TH 099-25)
         (Department 4)


                  The Honorable Judge Edward S. Kiel through                       Jusdtiedepartementet
                  Umted States Distdct Court for the                                Enheten for brottmalsarenden
                  District of New Jersey                                            och mtemadoneUt rattsl^t
                  U.S. Post Office & Courthouse Buildini                            samarbete
                  Two Federal Square                                               BIRS
                  Newark, NJ 07102,                                                 103 33 Stockholm
                  USA.
                                                                                               JUST1TIEDEPARTEMENTET
                  Your case number
                  2:19-md-02921

                                                                                               Dnr. Ju / BC ^!




                  Dear Judge Edward S. Kiel,


                  In response to your latest letter, confirming thM the request for a. hearing to obtain
                  testimony from Per Goran Heden (Dr. Heden) remains, die Stockholm Distdct Court
                  would like to inform the United States District Court for the Distdct of New Jersey ("the
                  Requesting Courf') of the followixag:


                        The Stockholm Distdct Court grants the Requesting Court's request for mtemadonal
                        judicial assistance to obtain testimony from Dr. Heden pursuant to the Hague
                        Convention of 18 March 1970.


                        The hearing for obtaming the testimony £com Dr. Heden will take place on August
                        22 and 23 2024, between 9.00 AM to 4.30 PM Swedish time (UTC +1) m the
                        premises of the Stockholm Distdct Court Dr. Heden has been summoned to the
                        hearing accordingly.


                        The hearing wiU be held in accordance with the appEca.don by the Requestiag Court
                        and meet the requirements set out in section XI, XII, XIII, XTV and XV, with one
                        exception, that a videographer will not be permitted to attend and parddpate m the
                        hearing. Accordiag to Swedish law, it is forbidden to photograph and film in the
                        courfs premises. However^ the Stockholiu Distoct Conrt •will record the hearing with
                        Dr Heden via video and audio and provide the Requesting Court with the files
                        afterwards.




                                                                                                                     Sida 1 (av 2)
       Om domstoleas behandlmg av persoau.ppgifEer, se www.domstQl.se/persQnuppgifter. Kontaku oss for mformation. pa. asnat sa-tt.

N      Besoksadress                   Oppetdder          Postadress                  E-post
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CM
       Scheelegatan 7                 raindflg—fredag    Box 8307                    stockhokn.s.tU3gsratta'v-deIxurig4@doiXLse

       Telefon.
                                      08:00-16:00        104 20 Stockholm            Webbplats
0
a      08-561 654 10                                                                 www.stocbholcnstmgsratt.se
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STOCKHOLMS TINGSRATT                                                                               MalT 11099-23




            Finally, the Stockholm District Court would like to ask whether there is any Swedish
            attorney or representative whom the Requesting Court would Hbe us to summon to the
            hearing?


            The Stoddiolm District Court is looking forward to hearing fcom you.




            Sincerely,

           ..-/%^
            Maria Ufsdotter Klang, Semor Judge
                + 468 561 65 373 I n^n^-nlfsdotterkkn^dom.se




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Justitiedepartementet ^—'. ^r ^. r:l\^: ^'j?f^3£
SE-103 33 Stockholm, Sweden DI£-i^l'^n&£Q


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